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                       UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF IDAHO


 DAVID M. GRANT,
                                              Case No. 1:18-cv-00411-CWD
                     Plaintiff,

        v.                                    CASE MANAGEMENT ORDER
                                              (STANDARD TRACK)
 BENJAMIN KEY, in his official and
 individual capacities, CITY OF
 FRUITLAND, a political subdivision of
 the State of Idaho, FRUITLAND CITY
 POLICE DEPARTMENT, a department
 of the City of Fruitland, J.D. HUFF, in
 his individual and official capacity, CITY
 OF PAYETTE, a political subdivision of
 the State of Idaho, PAYETTE POLICE
 DEPARTMENT, a department of the
 City of Payette, BEN BRANHAM, in his
 individual and official capacity, DUANE
 HIGLEY, in his individual and official
 capacity, MARK CLARK, in his
 individual and official capacity, JOHN or
 JANE DOES #1-10, whose true identities
 are presently unknown, and other
 Employees of the City of Fruitland, the
 City of Payette, or Payette County,

                     Defendants.




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        In accordance with the agreements reached in the telephone scheduling conference

held between counsel and the Court on December 19, 2018, and to further the just,

speedy, and inexpensive determination of this matter,

        NOW THEREFORE IT IS HEREBY ORDERED that the following deadlines

and procedures will govern this litigation:

1.      Dispositive Motion Deadline: All dispositive motions, including motions for

        punitive damages, must be filed by December 2, 2019. 1

2.       Amendment of Pleadings and Joinder of Parties: Motions to amend pleadings and

        join parties, except for allegations of punitive damages, must be filed on or before

        March 18, 2019. This deadline will be extended only for good cause shown. 2




        1
          It is this Court’s policy to accept only one (1) motion to dismiss and one summary judgment
motion per party. If it appears, due to the complexity or number of issues presented, that counsel is unable
to address all issues within the twenty-page (20) limit for briefs, Dist. Idaho Loc. R. 7.1(b)(1), then it is
appropriate to file a motion for permission to file an over-length brief, rather than filing separate motions
for each issue. The Court prefers reviewing one over-length brief in support, one over-length brief in
response, and one 10-page reply brief, if any, rather than the panoply of briefs that are generated when
multiple motions are filed.
        2
         The Ninth Circuit has held that motions to amend filed after the Scheduling Order deadline are
governed not by the liberal provisions of Fed. R. Civ. P. 15(a), but instead, by the more restrictive
provisions of Fed. R. Civ. P. 16(b) requiring a showing of “good cause.” Johnson v. Mammoth
Recreations, Inc., 975 F.2d 604 (9th Cir. 1992).

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3.   Alternative Dispute Resolution: The parties have chosen to participate in a

     judicially supervised settlement conference. ADR must be held by July 15,

     2019. Within seven (7) days of this Order, the parties are directed to contact Emily

     Donnellan, the ADR Administrator, at adr@id.uscourts.gov, so that she may

     assign a settlement conference judge and schedule a date for the settlement

     conference. Please ensure that all emails directed to adr@id.uscourts.gov contain

     the case number and title in the email subject line.

4.   Discovery Plan: All discovery must be in accordance with the Federal Rules of

     Civil Procedure, the Local Rules for the District of Idaho, and the parties’ joint

     discovery plan, which is incorporated herein by reference.

5.   Clawback: Pursuant to Fed. R. Evid. 502(d), and Section II(D) of the parties’

     stipulated discovery plan, it is hereby ORDERED that production of a privileged

     or work-product-protected document, whether inadvertent or otherwise, is not a

     waiver of privilege or work-product protection in this case or in any other federal

     or state proceeding.

6.   Completion of Fact Discovery: All fact discovery must be completed by

     November 1, 2019. This is a deadline for the completion of all fact discovery; it is

     not a deadline for discovery requests. Discovery requests must be made far enough

     in advance of this deadline to allow completion of the discovery by the deadline

     date.




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7.    Disclosure of Experts:

      a.        Plaintiff must disclose the experts intended to be called at trial on or before

                September 2, 2019.

      b.        Defendant must disclose the experts intended to be called at trial on or

                before October 2, 2019.

      c.        Plaintiff must disclose rebuttal experts intended to be called at trial on or

                before October 16, 2019.

      d.        ALL discovery relevant to experts must be completed by: November 1,

                2019.

8.    Scheduling of Trial and Pretrial Conference. Plaintiff’s counsel must contact

      courtroom deputy Amy Tate within one week following the entry of a decision on

      all pending dispositive motions to make arrangements for a telephonic trial setting

      conference with the Court to set pre-trial and trial deadlines. If no dispositive

      motion is filed, Plaintiff’s counsel must immediately contact the courtroom deputy

      within one week of the dispositive motion filing deadline to set a telephonic trial

      setting conference.

9.    Law Clerk: The law clerk assigned to this case is Kirsten Wallace, and may be

      reached at (208) 334-9331. If this case is later reassigned or referred to another

      judge, consult the Judges’ webpage 3 for the judges’ staff directory.

10.   Discovery Disputes:


      3
          http://id.uscourts.gov/district/judges/Welcome.cfm


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      a.      The parties will strictly comply with the meet and confer requirements of

              Local Rule 37.1 prior to filing any discovery motions.

      b.      The parties are to refer to the Judge’s web page 4 for specific instructions

              regarding how the Judge handles discovery disputes.

      c.      Prior to filing any discovery motions, counsel must certify, not only that

              they have complied with Local Rule 37.1, but that they have complied with

              the Judge’s discovery dispute procedures.

11.   The Court will conduct a telephonic status conference with the parties on

      August 5, 2019, at 1:30 p.m. Mountain Time for the purpose of inquiring about

      the status of discovery. Plaintiff must initiate the conference call by placing it to

      (208) 334-9945 and must have all appropriate parties on the line. Additional status

      conferences may be set by the Court at a later time.

12.   Calendaring Clerk: Scheduling matters and calendar issues may be directed to

      Amy Tate, who may be reached at (208) 334-9387. If the case is later reassigned

      or referred, please consult the Judges’ web page for a staff directory.

13.   Docketing Clerk: If you have a docketing or filing question, please contact a

      docket clerk 5 at (208) 334-1361.                                      December 19, 2018




      4
       http://id.uscourts.gov/district/judges/Welcome.cfm
      5
       The Clerk’s office staff directory may be found on the Court’s webpage:
      http://id.uscourts.gov/district/attorneys/DocketingCourtroom_Dep.cfm



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